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                                                                                    FILED
Robert D. Steams, Plaintiff in Propria Persona
269 Wealthy Road
Linden, Virginia 22642
                         UNITED STATES DISTRICT COURT                         NOV      p j:
                              DISTRICT OF VIRGINIA                    CLERK US DISTRICT COURT
ROBERT D. STEARNS                                                        ^tSWNBRIA. VIRciNlA
       PLAINTIFF

V.                                                         CASENO. I ;
SHELLPOINT MORTGAGE SERVICING AND
THE BANK OF NEWYORK MELLON FKATHE
BANK OF NEWYORK, AS TRUSTEE FOR THE
CERTIFICATEHOLDERS OF CWALT INC.,
ALTERNATIVE LOAN TRUST 2007-OAS,
MORTGAGE PASS-THROUGH CERTIFICATES,
SERIES 2007-OA8 ("BONr)
               DEFENDANTS
                                                       /

      COUNT I - COMPLAINT FOR VIOLATIONS OF FAIR DEBT COLLECTION
                 PRACTICES ACT (FDCPA); 15 U.S.C. § 1692 ET SEQ.

       Come now the plaintiff Robert D. Steams and sues the defendant SHELLPOINT
MORTGAGE SERVICING for penalties and actual damages for unfair and deceptive
collection practices in violation of the Fair Debt Collection Practices Act, and for other
relief as set forth herein.

                                      JURISDICTION

       This is an action at law and this court has original jurisdiction pursuant to Article
III, Section 2 of the United States Constitution and Title 28 U.S.C. §1331.

       This Is a complaint for damages that exceeds $75,000.

       There is a diversity of citizenship between the plaintiff and defendant.

       Defendant is a debt collector as defined under Title 15 U.S.C. §1692(a). of the
Fair Debt Collection Practices Act.

       Defendant has undertaken actions that involve the collection of a consumer debt

against the plaintiff. The debt collection involves a purported debt for personal, family
or household purposes. Defendant is a debt collector as defined under Title 15 U.S.C.
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 §1692(a)(6) and is not excluded by any provision of what defines a "debt collector"
 under this statute.

                                           VENUE

        The plaintiffhas resided in Warren County, Virginia, at the address known as 269
 Wealthy Road, Linden, Virginia, for all times material to this complaint.

        The defendant is a corporation doing business in the State of Virginia with its
 principle place of business at the address of 55 Beattie Place, Suite 110, Greenville, SC
 29601, for ail times material to this complaint.

                                    PLAIN STATEMENT

        This is a complaint for unfair and deceptive collection practices involving
 collateral against which the defendants have falsely asserted various rights or claims.
        The subject property that has given rise to this complaint is known as a trust
deed, and rights thereunder, and land with fixtures on the land that is encumbered by a
trust deed recorded in Wan-en County, Virginia, a true and correct copy of which is
attached.

       Plaintiff entered into a collateral agreement known as a mortgage involving his
property as described herein. This obligation was incurred as a financial obligation that
was primarily for family, personal or household purposes. This mortgage did not name
or confer any power upon the defendants
       At some time after this mortgage was recorded, the defendant began attempting
to foreclose under the terms of the mortgage, as if it were the holder or in control of the
note and mortgage.

       The plaintiff is the .'r.ortgagor in a trust deed that was recorded on the date of
January 16*^ 2007, in Warren County, Virginia, in the amount of $650,000. The deed
secured the payment of a promissory note made payable to AEGIS MORTGAGE
SERVICING, the lender stated on the trust deed. The trustee is listed as MICHAEL E.
MILCHAK.

       There were no other parties identified as having an interest in this trust deed or
having any rights thereunder, within the instruments, (note and trust deed).
       The plaintiff sent the defendant a notice of dispute and request for validation after
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 receiving a notice of default dated May 18*^ 2016.

        The plaintiff sent a request to the lender and trustee on or about June 7^ 2016
 requesting verification that the named defendant was transferred, assigned or conveyed
 the rights under the trust deed and note. No response has been given as of this date.
 A true and correct copy is included with Exhibit A.
       The defendant has somehow acquired the personal and banking information of
 each of the plaintiff and has used that information for their own personal gain and
 benefit without any permissible purpose.

       The plaintiff received copies of what purport to be an assignment of the note and
trust deed for his home and a notice of substitute trustee.

       It appears that a company named "MORTGAGE ELECTRONIC REGISTRATION
SYSTEMS, INC." DBA "MERS" assigned the note and trust deed to THE BANK OF
NEW YORK MELLON FKA THE BANK OF NEW YORK, AS TRUSTEE FOR THE
CERTIFICATEHOLDERS OF CWALT, INC., ALTERNATIVE LOAN TRUST 2007-OAS,
MORTGAGE PASS-THROUGH CERTIFICATES. SERIES 2007-OA8 ("BONY").
       The assignment appears to have been executed by "Miguel Romero" with the
title of "Assistant Secretary" to "MERS" on the date of June 22"'' 2011; however, MERS
has no employees and this is a matter of public record. It has already been discovered
that MERS is a tax evasion scheme set up by the banks to evade county and state
taxes and launder money in the form of negotiable instruments.

       Additionally, this other defendant, THE BANK OF NEW YORK MELLON FKA
THE BANK OF NEW YORK, AS TRUSTEE FOR THE CERTIFICATEHOLDERS OF
CWALT,    INC., ALTERNATIVE LOAN TRUST 2007-OAS,                 MORTGAGE PASS-
THROUGH CERTIFICATES, SERIES 2007-OA8 ("BONY"), appointed a substitute
trustee by the name of "EQUITY TRUSTEES, LLC" on the date of November 7"^ 2013.
This substitution was executed by "Whitney E. Eckert" with the title of "Assistant Vice
President" for THE BANK OF NEW YORK MELLON FKA THE BANK OF NEW YORK,
AS TRUSTEE FOR THE CERTIFICATEHOLDERS OF CWALT, INC., ALTERNATIVE
LOAN TRUST 2007-OAS, MORTGAGE PASS-THROUGH CERTIFICATES, SERIES
2007-OA8 ("BONr).
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        However, this party does not exist in any known system of records and has no
 employees.

                                       ALLEGATIONS

        Each and everyone of the foregoing statements, together with the exhibits, are
 re-alleged herein and included with the following additional allegations.
       Within the previous twelve months, the defendant began sending written
communication to the plaintiff stating that it was representing various parties having
rights under the same trust deed, or at least plaintiff understood that it was representing
parties, Including the other defendants, the trustee, a bank, a law firm, etc. who were all
claiming some rights in the plaintiffs property.
       Plaintiff asked the defendant to provide verification that these parties it was
supposed to have been representing, whose names it was using, or who were aware of
its actions. No response was given.
       The plaintiff explained that the reason for these requests were, in part, because
none of these parties were named in the mortgage referenced by this defendant.

       The defendant sent written communication to the plaintiff stating that it was
representing various parties, or at least plaintiff understood that it was representing
parties, including the other defendants, the trustee, a bank, a law fimn, etc. who were all
claiming some rights in the plaintiff's property.
       Plaintiff asked the defendant to provide verification that these parties she was
supposed to have been representing, whose names she was using, were aware of her
actions.

       The plaintiff explained that the reason for these requests were, in part, because
none of these parties were named in the mortgage referenced by this defendant.
       Plaintiff also asked the defendant to explain how it obtained the personal and
private banking, financial and identifying information of the plaintiffs. The defendant
failed or refused to answer these questions, in spite of being advised that she was in
violation of the Fair Debt Collection Practices Act and may be subject to penalties and
actual damages for continuing to undertake these actions.

      The purported debt is not a debt held or collected under the name of the
defendant.
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        The defendant made false representations that it was the holder of a note or
 promise to pay In which the plaintiff owed the defendant.
        The defendant made false representations that it had rights to foreclose against
 the plaintiff's property (home) under the provisions of a trust deed that is recorded
 against the title of the plaintiff's property in the county where the property is situated.
        The defendant is utilizing the statutory foreclosure process for this state for the
 purpose of engaging in a scheme that aims to conceal the identity, source, and
 destination of illicitly-obtained money, specifically the plaintiff's promissory note.
        First, the defendant acquired a copy, forged or counterfeit version of the plaintiff's
 promissory note. The actual steps taken are unclear at this time but there was no
valuable consideration given in the process and the original lender or originator either
 no longer exists or has no records of this instrument.

        Second, the defendant is and has been employing a complex scheme, including
what has become known recently as "securitization", and then assignments,
trusteeships and other counter parties or affiliates such as "serving agents" to obscure
who initially received the money.
        Finally, the parties involved have been compensated in a list of different ways
from this scheme, such as removing the liability from accounting records and obtaining
tax benefits from the United States, sustaining the illusion of solvency for pension funds
of those government officers who participate in the scheme. Including judges and
attorneys and clerks of the court. And all of these steps have been undertaken in a very
complex, obscure and indirect way so as to conceal who did what and when.
       The defendant requested certain financial disclosures from the plaintiff claiming
that the disclosures would persuade the defendant to cease its foreclosure actions
provided that money was paid by the plaintiff to the defendant or its privies.
       The defendant did not have the typical credit information of the plaintiff, such as
a social security number, or date of birth or other banking Information that a creditor
would normally be expected to have already obtained before a debt obligation was
established.
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        The defendant has used a false or fictitious name in the undertaking of its
 collection actions.

        The defendant has used a name other than the true name of its business,

company or organization.
        After several written requests, the defendant has refused to Identify its owners,
principals or interests it claims to have in the plaintiff's property.   Instead of making
these disclosures, defendant has falsely represented that it does have certain legal
rights under the trust deed and that it has the right to foreclose of the plaintiff falls or
refuses to provide more credit, banking, financial, personal and other identifying
information along with agreeing to making regular payments of money to the defendant
or its privies.

       The defendant failed or refused to provide an accounting of its claim showing any
unpaid balance and instead simply demanded money in exchange for not foreclosing
and has only provided copies of records that anyone could obtain from the county
recorders' office.

       The defendant has falsely represented the name of the creditor to whom it
alleges the debt is owed.

       The defendant has threatened to undertake a foreclosure action against the
plaintiff when it has no such rights to do so.
       The defendant falsely represented that if the plaintiff failed or refused to
cooperate by providing financial, banking, credit, personal and other identifying
information along with money, that it would sell the plaintlfTs property at a public
auction. The correspondences sent by the defendant expressed this message while It
may not have been written in these words, the plaintiff understood that this was the
message, and these correspondences are included with Exhibit A.
       The defendant delivered to the plaintiff written communications that, were made
to look like or, falsely represent documents authorized, issued, or approved by a court,
official, or agency of the United States or the state, by using words that would give a
false impression of the document's source, authorization, or approval.
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        The Defendant failed to provide the Plaintiff with validation of debt within five
 business days of contacting him.

        Based on these allegations, the consumer alleged violations of §§ 1692e(4) and
 (5). and 1692g(a) and (b) of the FDCPA.

        The foregoing acts and omissions constitute numerous and multiple violations of
the FDCPA, including but not limited to each and every one of the above-cited
 provisions of the FDCPA, 15 U.S.C. § 1692 et seq.

       This is an action for damages exceeding $75,000.

        Plaintiff demand a jury trial.

        As a result of each and every violation of the FDCPA, Plaintiff is entitled to any
actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in an amount
up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and, reasonable attomey's
fees and costs, if any, pursuant to 15 U.S.C. § 1692k(a)(3) from each and every
defendant, jointly and severally.

                                         REQUEST FOR RELIEF

       WHEREFORE, Plaintiff demands that judgment be entered against each
Defendant, jointly and severally, and Plaintiff be awarded damages from each
Defendant, as follows:

       A.   An award of statutory damages of $1,000.00 pursuant to 15 U.S.C. §
1692k(a)(2)(A);

       B. An award of costs of litigation and reasonable attorney's fees, if any, pursuant
       to 15 U.S.C. § 1692k(a)(3);

       C. An award of actual damages;

       D. Pursuant to the seventh amendment to the Constitution of the United States

of America, Plaintiff is entitled to, and demands, a trial by jury on all issues so triable as
a matter of law.


     COUNT II - COMPLAINT FOR VIOLATIONS OF FAIR DEBT COLLECTION

                   PRACTICES ACT (FDCPA); 15 U.S.C. § 1692 ET SEQ.
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        Come now the plaintiff Robert D. Steams and sues the defendant THE BANK OF
 NEW YORK MELLON FKA THE BANK OF NEW YORK, AS TRUSTEE FOR THE
 CERTIFICATEHOLDERS OF CWALT, INC., ALTERNATIVE LOAN TRUST 2007-OAS.
 MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2007-OA8 ("BONY") for
 penalties and actual damages for unfair and deceptive collection practices in violation of
 the Fair Debt Collection Practices Act, and for other relief as set forth herein.

                                        JURISDICTION

        This is an action at law and this court has original jurisdiction pursuant to Article
 III, Section 2 of the United States Constitution and Title 28 U.S.C. §1331.

       This is a complaint for damages that exceeds $75,000.

       There is a diversity of citizenship between the plaintiff and defendant.

        Defendant is a debt collector as defined under Title 15 U.S.C. §1692(a). of the
 Fair Debt Collection Practices Act.

       Defendant has undertaken actions that Involve the collection of a consumer debt

against the plaintiff. The debt collection involves a purported debt for personal, family
or household purposes. Defendant is a debt collector as defined under Title 15 U.S.C.
§1692(a)(6) and is not excluded by any provision of what defines a "debt collector"
under this statute.

                                           VENUE

       The plaintiff has resided in Warren County, Virginia, at the address known as 269
Wealthy Road, Linden, Virginia, for all times material to this complaint.

       The defendant is a non-resident collection of certificates or an unintelligible
mixture of what appears to be names of banking organizations, trusts and certificates,
and is apparently doing business in the State of Virginia with its principle place of
business at the address of 101 Barclay St. 8W, New York, NY 10286, for all times
material to this complaint. This defendant does not appear to exist in any system of
records within the State of Virginia.

                                    PLAIN STATEMENT

       This is a complaint for unfair and deceptive collection practices involving
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 collateral against which the defendants have falsely asserted various rights or claims.

       The subject property that has given rise to this complaint is known as a trust
 deed, and rights thereunder, and land with fixtures on the land that is encumbered by a
 trust deed recorded in Warren County, Virginia, a true and correct copy of which is
 attached.

       Plaintiff entered into a collateral agreement known as a mortgage involving his
 property as described herein. This obligation was incurred as a financial obligation that
 was primarily for family, personal or household purposes. This mortgage did not name
or confer any power upon the defendants
       At some time after this mortgage was recorded, the defendant began attempting
to foreclose under the terms of the mortgage, as if it were the holder or in control of the
 note and mortgage.

       The plaintiff is the mortgagor in a trust deed that was recorded on the date of
January 16"^ 2007, in Warren County, Virginia, in the amount of $650,000. The deed
secured the payment of a promissory note made payable to AEGIS MORTGAGE
SERVICING, the lender stated on the trust deed. The trustee is listed as MICHAEL E.
MILCHAK.

       There were no other parties identified as having an interest in this trust deed or
having any rights thereunder, within the instruments, (note and trust deed).
       The plaintiff sent a request to the lender and trustee on or about June 7^ 2016
requesting verification that the named defendant was transferred, assigned or conveyed
the rights under the trust deed and note. No response has been given as of this date.
A true and correct copy is included with Exhibit A.
       The defendant has somehow acquired the personal and banking information of
each of the plaintiff and has used that information for their own personal gain and
benefit without any permissible purpose.

       The plaintiff sent the defendant a notice of dispute and request for validation after
receiving a notice of default dated January 7®', 2016.

       Plaintiff received   a   notice and demand dated       March 4"^ 2016 from       the

defendant's agent in which it stated that the defendant was the new owner of the note
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  and trust deed described herein. This notice is included with Exhibit A.

         The notice demanded payment of $799,105.19 and threatened that if payment in
 full was not made within an indeterminate amount of time, that the the defendant and its
  agent Shellpoint would sell the plaintiff's property at a foreclosure auction.
         The plaintiff received copies ofwhat purport to be an assignment ofthe note and
  trust deed for his home and a notice of substitute trustee.

      It appears that a company named "MORTGAGE ELECTRONIC REGISTRATION
 SYSTEMS, INC." DBA "MERS" assigned the note and trust deed to THE BANK OF
  NEW YORK MELLON FKA THE BANK OF NEW YORK. AS TRUSTEE FOR THE
  CERTIFICATEHOLDERS OF CWALT, INC., ALTERNATIVE LOAN TRUST 2007-OAS,
  MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2007-OA8 ("BONr').

          The assignment appears to have been executed by "Miguel Romero" with the
 title of "Assistant Secretary" to "MERS" on the date of June 22"^^ 2011; however, MERS
 has no employees and this is a matter of public record. It has already been discovered
 that MERS is a tax evasion scheme set up by the banks to evade county and state
 taxes and launder money in the form of negotiable instruments.

        Additionally, this other defendant, THE BANK OF NEW YORK MELLON FKA
 THE BANK OF NEW YORK, AS TRUSTEE FOR THE CERTIFICATEHOLDERS OF
 CWALT INC., ALTERNATIVE LOAN TRUST 2007-OAS, MORTGAGE PASS-
 THROUGH CERTIFICATES, SERIES 2007-OA8 ("BONY"), appointed a substitute
 trustee by the name of "EQUITY TRUSTEES, LLC" on the date of November 7^ 2013.
 This substitution was executed by "Whitney E. Eckert" with the title of "Assistant Vice
  President" for THE BANK OF NEW YORK MELLON FKA THE BANK OF NEW YORK.
 AS TRUSTEE FOR THE CERTIFICATEHOLDERS OF CWALT. INC., ALTERNATIVE
 LOAN TRUST 2007-OAS, MORTGAGE PASS-THROUGH CERTIFICATES. SERIES
 2007-OA8 ("BONY').

         However, this party does not exist in any known system of records and has no
 employees.

                                        ALLEGATIONS

         Each and everyone of the foregoing statements, together with the exhibits, are
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  re-alleged herein and included with the following additional allegations.
         Within the previous twelve months, the defendant's agent began sending written
  communication to the plaintiff stating that it was representing various parties having
  rights under the same trust deed, or at least plaintiff understood that it was representing
  parties, including the other defendants, the trustee, a bank, a law firm, etc. who were all
  claiming some rights in the plaintifTs property.
         Plaintiff asked the defendant to provide verification that these parties it was
  supposed to have been representing, whose names it was using, or who were aware of
  its actions. No response was given.
         Defendant's agent, Shellpoint, sent a communication to the plaintiff titled "Notice
  of Assignment of Deed of Trust" dated June 22"'' 2011. The purported assignment
  identifies the plaintiff's property against which there is a trust deed. In the language of
  the assignment, it states that "for valuable consideration given", an organization by the
  name of Mortgage Electronic Registration Systems, Inc. (MERS), had acquired the
  rights under the trust deed. The language did not state that MERS acquired any rights
  of the note which gave rise to the trust deed; however, the document further stated that
  MERS assigned the rights under the trust deed and the note to the defendant. The
  notice of assignment was executed by an individual named Miguel Romero, as
  "Assistant Secretary" for MERS and was notarized in Ventura County, Califomia.
         The defendant was never assigned the note because it was never in the custody
  or control of the purported assignor, MERS.
         Miguel Romero and the purported mortgage and note were never at the same
  location for the purported assignment, Romero signs these documents for money and
  he is not employed by MERS. This document is false and falsely represents the facts
  claims therein.

         There is no evidence anywhere that the defendant was ever assigned the
  purported note and mortgage by the lender, AEGIS MORTGAGE CORPORATION.
        The plaintiff explained that the reason for these requests were, in part, because
  none of these parties were named in the mortgage referenced by this defendant.

        The defendant sent written communication to the plaintiff stating that it was
  representing various parties, or at least plaintiff understood that it was representing
  parties, including the other defendants, the trustee, a bank, a law firm, etc. who were all
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  claiming some rights in the plaintiffs property.
          Plaintiff asked the defendant to provide verification that these parties she was
  supposed to have been representing, whose names she was using, were aware of her
  actions.

         The plaintiff explained that the reason for these requests were, in part, because
  none of these parties were named in the mortgage referenced by this defendant.

         Plaintiff also asked the defendant to explain how it obtained the personal and
  private banking, financial and identifying information of the plaintiffs. The defendant
  failed or refused to answer these questions, in spite of being advised that she was in
  violation of the Fair Debt Collection Practices Act and may be subject to penalties and
  actual damages for continuing to undertake these actions.

         The purported debt is not a debt held or collected under the name of the
  defendant.

         The defendant made false representations that it was the holder of a note or
  promise to pay in which the plaintiff owed the defendant.
         The defendant made false representations that it had rights to foreclose against
  the plaintifPs property (home) under the provisions of a trust deed that is recorded
  against the title of the plaintifPs property in the county where the property is situated.
         The defendant is utilizing the statutory foreclosure process for this state for the
  purpose of engaging in a scheme that aims to conceal the identity, source, and
  destination of illicitly-obtained money, specifically the plaintiff's promissory note.
         First, the defendant acquired a copy, forged or counterfeit version of the plaintiffs
  promissory note. The actual steps taken are unclear at this time but there was no
  valuable consideration given in the process and the original lender or originator either
  no longer exists or has no records of this instrument.

         Second, the defendant is and has been employing a complex scheme, including
  what has become known            recently as "securitization", and then assignments,

  trusteeships and other counter parties or affiliates such as "serving agents" to obscure
 who initially received the money.
         Finally, the parties involved have been compensated in a list of different ways
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 from this scheme, such as removing the liability from accounting records and obtaining
 tax benefits from the United States, sustaining the illusion of solvency for pension funds
 of those government officers who participate in the scheme, including judges and
 attorneys and clerks of the court. And all of these steps have been undertaken in a very
 complex, obscure and indirect way so as to conceal who did what and when.
         The defendant requested certain financial disclosures from the plaintiff claiming
 that the disclosures would persuade the defendant to cease its foreclosure actions
  provided that money was paid by the plaintiff to the defendant or its privies.
         The defendant did not have the typical credit information of the plaintiff, such as
 a social security number, or date of birth or other banking information that a creditor
 would normally be expected to have already obtained before a debt obligation was
 established.

         The defendant has used a false or fictitious name in the undertaking of its
 collection actions.

         The defendant has used a name other than the true name of its business,

 company or organization.
         After several written requests, the defendant has refused to identify its owners,
 principals or interests it claims to have in the plaintiff's property. Instead of making
 these disclosures, defendant has falsely represented that it does have certain legal
 rights under the trust deed and that it has the right to foreclose of the plaintiff fails or
 refuses to provide more credit, banking, financial, personal and other identifying
 information along with agreeing to making regular payments of money to the defendant
 or its privies.
         The defendant failed or refused to provide an accounting of its claim showing any
 unpaid balance and instead simply demanded money in exchange for not foreclosing
 and has only provided copies of records that anyone could obtain from the county
 recorders* office.

        The defendant has falsely represented the name of the creditor to whom it
 alleges the debt is owed.
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         The defendant has threatened to undertake a foreclosure action against the
  plaintiff when it has no such rights to do so.
         The defendant falsely represented that if the plaintiff failed or refused to
  cooperate by providing financial, banking, credit, personal and other identifying
  information along with money, that it would sell the plaintiff's property at a public
  auction. The correspondences sent by the defendant expressed this message while it
  may not have been written in these words, the plaintiff understood that this was the
  message, and these con-espondences are included with Exhibit A.
         The defendant delivered to the plaintiff written communications that were made
  to look like or falsely represent documents authorized, issued, or approved by a court,
  official, or agency of the United States or the state, by using words that would give a
  false impression of the document's source, authorization, or approval.
         The Defendant failed to provide the Plaintiff with validation of debt within five
  business days of contacting him.

         Based on these allegations, the consumer alleged violations of §§ 1692e(4) and
  (5), and 1692g(a) and (b) of the FDCPA.
         The foregoing acts and omissions constitute numerous and multiple violations of
  the FDCPA, including but not limited to each and every one of the above-cited
  provisions of the FDCPA, 15 U.S.C. § 1692 et seq.

         This is an action for damages exceeding $75,000.

         Plaintiff demand a jury trial.

         As a result of each and every violation of the FDCPA, Plaintiff is entitled to any
  actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages In an amount
  up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and, reasonable attorney's
  fees and costs, if any, pursuant to 15 U.S.C. § 1692k(a)(3) from each and every
  defendant, jointly and severally.

                                          REQUEST FOR RELIEF

         WHEREFORE, Plaintiff demands that judgment be entered against each
  Defendant, jointly and severally, and Plaintiff be awarded damages from each
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  Defendant, as follows:

         A.   An award of statutory damages of $1,000.00 pursuant to 15 U.S.C. §
  1692k(a)(2)(A);

         B. An award of costs of litigation and reasonable attorney's fees, if any, pursuant
         to 15 U.S.C. § 1692k{a)(3);

         C. An award of actual damages;

         D. Pursuant to the seventh amendment to the Constitution of the United States

 of America. Plaintiff is entitled to, and demands, a trial by jury on all issues so triable as
  a matter of law.


                      COUNT III - COMPLAINT FOR CONVERSION

         Comes now the plaintiff Robert D. Steams and sues the defendant SHELLPOINT
  MORTGAGE SERVICING in the following legal action to protect a private civil right and
 to compel a civil remedy for damages resulting from the theft of the plaintiffs personal,
 financial, banking and identifying information, and alleges the following:

                                       JURISDICTION

        This is an action at law and this court has original jurisdiction pursuant to Article
  III, Section 2 of the United States Constitution and Title 28 U.S.C. §1331.

        This is a complaint for damages that exceeds $75,000.

        There is a diversity of citizenship between the plaintiff and defendant.
                                           VENUE


        The plaintiff has resided in Wan-en County, Virginia, at the address known as 269
 Wealthy Road, Linden, Virginia, for all times material to this complaint.

        The defendant is a corporation doing business in the State of Virginia with its
 principle place of business at the address of 55 Beattie Place, Suite 110, Greenville, SC
 29601, for all times material to this complaint.

                                    PLAIN STATEMENT

        This cause of action is not concerned with a foreclosure but does arise from the
 process of the defendant's Involvement in conduction a foreclosure against the
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 plaintiffs.

       The plaintiff is the mortgagor in a trust deed that was recorded on the date of
 January 16"" 2007, in Warren County, Virginia, in the amount of $650,000. The deed
 secured the payment of a promissory note made payable to AEGIS MORTGAGE
 SERVICING, the lender stated on the trust deed. The trustee is listed as MICHAEL E.
 MILCHAK.

        This complaint concems the defendant's actions and conduct whereby it
 acquired the plaintiff's private property which includes but is not limited to, credit
 records, financial information, banking information and other personal and private
 identifying information, known as the plaintifTs "likeness", without authority.
         The defendant then used this information to make it appear as if it had some
 rights under the mortgage or trust deed and that it was was working with the lender In
 the trust deed, for the purpose of taking more of the plaintiff's property and money.
         The defendant then proceeded to send written communications to the plaintiff
 stating that it now either had rights to foreclose under the trust deed or that it was
 working with other parties who had rights to foreclose, unless the plaintiff made more
 financial disclosures and modified payment arrangements to the defendant.

         The defendant pretended to help the plaintiff and lead him into making more and
 more financial disclosures and then either discontinued the communication after it
 obtained what it wanted, or created a situation to make it appear as ifthe plaintiff did not
 qualify, but then never returned or certified the destruction of the records and
 information obtain about the plaintiff.

                       STATEMENTS OF FACT AND DEFINITIONS

         The term "identity theft" includes the act of stealing one's mail or looking through
 one's private home and/or commercial business trash. Sometimes the theft is
 undertaken by simply communicating with the victim, such as via mail, telephone and
 sometimes during service calls such as a plumber casing a house and then giving the
 information he discovers to a third party for money.

         Sometimes identity thieves steal your wallet or purse, and sometimes they only
 take the information in your wallet or purse.        They will also fraudulently pose as
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  potential landlords, tax collector, banking organizations, attorneys, prospective or
  current employers, or creditors to try to obtain your personal data under false pretenses.
  The methods of Identity theft have become known by the new term "phishing".
        The term "phishing" is defined as someone is tricked into giving up personal
  information, typically by sending out what looks like official communications from banks,
  credit unions, or credit card companies asking to confirm private information including
  personal identification numbers and other critical identifiers. Some go so far as to file a
  "change of address" form to divert your mail to a drop or Post Office Box address.
         The most recent example comes from the expanding mortgage foreclosure
  segment of the fiance market; whereby, individuals gather together public records such
  as mortgages and create promissory notes and copy signatures from the mortgages to
  the notes and use those copies along with other records created by software, to
  commission attorneys to begin a foreclosure action. The attomeys then contact a
  homeowner and tell him that his mortgage is in default, and usually claim some
  unknown third party to whom it's in default, and that to avoid foreclosure, he will have to
  provide financial disclosures for a "loan modification'. Out of fear, the unsuspecting
  homeowner provides this information without any conditions, such as never being
 advised of the perpetrator's document retention policy or what the financial information
 will be used for. Many organizations are able to obtain credit information about the
  homeowner simply by paying a membership fee to Equifax. This information is then
  used to obtain more information. In probably every case, this financial information is
 sold or traded to third parties and utilized in making false reports to the IRS, such as on
  Form 1099.

         Identifying information also includes a person's name, telephone number, date of
  birth, mother's maiden name, driver's license number, state identification number, or
 any other piece of information that can identifya person.
                                       ALLEGATIONS

        The plaintiff re-allege the foregoing and incorporate each statement herein.
        Jurisdiction and venue are proper and this complaint is an action at law and is
  properly before this court.
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           Plaintiffs "private information", as the term is used in this complaint and accepted
  commonly in our modem community, includes but is not limited to the likeness of the
  plaintiff, and his personal identifying information, banking, financial and credit
  information, and anyother personal information that is or can be used by the plaintiff for
  his own personal and professional benefits.

         Plaintiff owned, possessed, enjoyed and had the exclusive right to keep his
  private information and records from third parties, and has a right to rely upon the third
  party to only request such information for legitimate and legal purposes. The plaintiffs
  private records include the information appearing on his birth certificate, tax records,
  banking records, financial records, notes and related instruments, financial and other
  personal information and information that identifies the plaintiff, such as his likeness,
  photographs, videos, and other records which have not been deliberately published to
  third parties.

         Within the previous twelve months and continuing through the present day, the
  plaintiff were contacted by the defendant and solicited for information including but not
  limited to personal and private identifying information, and credit, banking and financial
  information. Plaintiff has reason to believe that the defendant is owned and operated by
  individuals that are using the name of the defendant to conduct this scheme to convert
 the plaintiffs' property for its own purposes.

         The defendant is being used to conceal the identities of these owners and other
  interested parties. The defendant threatened the plaintiff with the taking their home and
  money unless they provided certain financial, personal, banking and identifying
  information to the defendant. Copies of these written communications are attached
 along with Exhibit A.

         The defendant also made inquiries of the plaintiff credit report but did not have a
  permissible purpose or obtained authority to make any inquiry of the plaintiffs credit
 records.

         The defendant obtained records from the public domain that pertain to the
 plaintiffs property and rights to his property, and then use these records to create
 additional records and convince the personnel working In the court system to participate
 in a public auction of the plaintiffs home.
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         The defendant has deliberately and willfully, falsely presented itself and
  impersonated itself to the plaintiff as another person to obtain the plaintiffs property for
  purposes not permitted by law or agreement.

         The defendant had an affirmative duty to disclose the purposes for which it
  coerced plaintiffs banking, personal, financial and identifying information.

         The defendant's actions were deliberate and willful and negligent and careless.
  The plaintiff was never provided with a disclosure of the defendant's document retention
  policy or an explanation of the purposes for which the plaintiffs private information
  would be used.

         The plaintiff has never entered into any agreement or contract with the
  defendant.

         Defendant converted the plaintiffs property and rights to property by one or more
  wrongful acts or dispositions of plaintiffs property rights.

         The damages suffered by the plaintiff exceed $2,500,000.

         The defendant has taken the property and rights to property of the plaintiff for its
  own personal use, profit and gain.

         Defendant knowingly obtained or used the plaintiffs' property, with intent to, either
  temporarily or permanently deprive the plaintiff of a right to the property or a benefit
  from the property; or appropriate the property to the use of any person not entitled to
  the use of the property.

        The plaintiff requested a copy of the defendant's document retention policy but
  this request was ignored.

        The defendant intentionally and willfully violated the plaintiffs rights to privacy
  and to keep his private and personal records private.

        The defendant engaged In communications with the plaintiff and deceived him
  into disclosing his private information. The defendant accomplished this by using the
 information already available to the defendant in the public domain to make it appear as
 if the defendant had some legal rights to obtain more of the plaintiffs private
 information, when the defendant did not have such rights.
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          After obtaining plaintiffs' private information, defendant used this infonnation for
  its own financial gain and ulterior and undisclosed purposes, and for purposes not
  permitted by law or by the either plaintiff. The defendant has or intends to file claims
  with the Internal Revenue Service, such as Form 1099, using the plaintiff's identifying
  information.

         The defendant has or intends to use the plaintiff's private information to sell or
  trade with third parties for the mutual benefit of these parties, exclusive of contrary to
  the interests of the plaintiff.

         The defendant used this information to sell the plaintiffs' property at a public
  auction in order to further give the appearance that it was legal when it was not.

         Since the date of December 12*^ 2015, and to the best of plaintiffs' knowledge,
  the defendant has been in possession of plaintiff's private information, and without the
  consent of the plaintiff and without legal authority.

                                             DAMAGES

         The plaintiff has suffered damages as a direct and proximate result of the
  defendant's actions and failures to act.

         The plaintiff has suffered the loss of the actual fair market value of his home
  because the defendant has been encumbering the plaintifTs property, before, during
  and following the foreclosure thereof. The damages include $2,500,000 together with
  costs and attorney fees.

         WHEREFORE plaintiff demands judgment against the defendant in the
  aggregate amount of damages alleged in the complaint of $2,500,000 together with
  other relief this court deems appropriate.

                        COUNT IV - COMPLAINT FOR CONVERSION

         Comes now the plaintiff Robert D. Steams and sues the defendant THE BANK
  OF NEW YORK MELLON FKA THE BANK OF NEW YORK, AS TRUSTEE FOR THE
 CERTIFICATEHOLDERS OF CWALT, INC., ALTERNATIVE LOAN TRUST 2007-OAS,
  MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2007-OA8 ("BONY") in the
 following legal action to protect a private civil right and to compel a civil remedy for
 damages resulting from the theft of the plaintiffs personal, financial, banking and
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  identifying information, and alleges the following:

                                          JURISDICTION

           This is an action at law and this court has original jurisdiction pursuant to Article
  III, Section 2 of the United States Constitution and Title 28 U.S.C. §1331.

           This is a complaint for damages that exceeds $75,000.

           There is a diversity of citizenship between the plaintiff and defendant.

                                             VENUE

          The plaintiff has resided in Warren County, Virginia, at the address known as 269
  Wealthy Road, Linden, Virginia, for all times material to this complaint.

          The defendant is a non-resident collection of certificates or an unintelligible
  mixture of what appears to be names of banking organizations, trusts and certificates,
  and is apparently doing business in the State of Virginia with its principle place of
  business at the address of 101 Barclay St. 8W, New York, NY 10286, for all times
  material to this complaint. This defendant does not appear to exist in any system of
  records within the State of Virginia.

                                      PLAIN STATEMENT

          This cause of action is not concerned with a foreclosure but does arise from the

  process of the defendant's involvement in conduction a foreclosure against the
  plaintiffs.

          The defendant has represented itself as the "servicer" of the following trust deed
  account.


          The plaintiff is the mortgagor in a trust deed that was recorded on the date of
 January 16^ 2007, in Wan-en County, Virginia, in the amount of $650,000. The deed
 secured the payment of a promissory note made payable to AEGIS MORTGAGE
 SERVICING, the lender stated on the trust deed. The trustee is listed as MICHAEL E.
 MILCHAK.

         This complaint concerns the defendant's actions and conduct whereby it
 acquired the plaintiff's private property which includes but is not limited to, credit
 records, financial infonnation, banking information and other personal and private
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   identifying information, known as the plaintiffs likeness", without authority.

         The defendant then used this information to make it appear as if it had some
  rights under the mortgage or trust deed and that it was was working with the lender in
  the trust deed, for the purpose of taking more of the plaintiff's property and money.

         The defendant then proceeded to send written communications to the plaintiff
  stating that it now either had rights to foreclose under the trust deed or that it was
  working with other parties who had rights to foreclose, unless the plaintiff made more
  financial disclosures and modified payment arrangements to the defendant.

         The defendant pretended to help the plaintiff and lead him into making more and
  more financial disclosures and then either discontinued the communication after it

  obtained what it wanted, or created a situation to make it appear as if the plaintiff did not
  qualify, but then never returned or certified the destruction of the records and
  information obtain about the plaintiff.

                        STATEMENTS OF FACT AND DEFINITIONS

         The term "identity theft" includes the act of stealing one's mail or looking through
  one's private home and/or commercial business trash. Sometimes the theft is
  undertaken by simply communicating with the victim, such as via mail, telephone and
  sometimes during service calls such as a plumber casing a house and then giving the
  information he discovers to a third party for money.

         Sometimes Identity thieves steal your wallet or purse, and sometimes they only
  take the information in your wallet or purse.        They will also fraudulently pose as
  potential landlords, tax collector, banking organizations, attorneys, prospective or
  current employers, or creditors to try to obtain your personal data under false pretenses.
  The methods of identity theft have become known by the new term "phishing".

         The term "phishing" is defined as someone is tricked into giving up personal
  information, typically by sending out what looks like official communications from banks,
  credit unions, or credit card companies asking to confirm private information including
  personal identification numbers and other critical identifiers. Some go so far as to file a
  "change of address" form to divert your mail to a drop or Post Office Box address.

        The most recent example comes from the expanding mortgage foreclosure
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  segment of the fiance marlcet; whereby, individuals gather together public records such
  as mortgages and create promissory notes and copy signatures from the mortgages to
  the notes and use those copies along with other records created by software, to
  commission attorneys to begin a foreclosure action.          The attorneys then contact a
  homeowner and tell him that his mortgage is in default, and usually claim some
  unknown third party to whom it's in default, and that to avoid foreclosure, he will have to
  provide financial disclosures for a "loan modification'.     Out of fear, the unsuspecting
  homeowner provides this information without any conditions, such as never being
  advised of the perpetrator's document retention policy or what the financial information
  will be used for.   Many organizations are able to obtain credit information about the
  homeowner simply by paying a membership fee to Equifax. This information is then
  used to obtain more information. In probably every case, this financial information is
  sold or traded to third parties and utilized In making false reports to the IRS, such as on
  Form 1099.

         identifying information also includes a person's name, telephone number, date of
  birth, mother's maiden name, driver's license number, state identification number, or
  any other piece of information that can identify a person.

                                       ALLEGATIONS

         The plaintiff re-allege the foregoing and incorporate each statement herein.

         Jurisdiction and venue are proper and this complaint is an action at law and is
  properly before this court.

         Plaintiffs "private information", as the term is used in this complaint and accepted
 commonly in our modern community, includes but is not limited to the likeness of the
  plaintiff, and his personal identifying information, banking, financial and credit
 Information, and any other personal information that is or can be used by the plaintiff for
 his own personal and professional benefits.

        Plaintiff owned, possessed, enjoyed and had the exclusive right to keep his
 private information and records from third parties, and has a right to rely upon the third
 party to only request such information for legitimate and legal purposes. The plaintiffs
 private records include the information appearing on his birth certificate, tax records,
 banking records, financial records, notes and related instruments, financial and other
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   personal information and information that identifies the plaintiff, such as his likeness,
   photographs, videos, and other records which have not been deliberately published to
  third parties.

         Within the previous twelve months and continuing through the present day, the
   plaintiff were contacted by the defendant and solicited for information including but not
  limited to personal and private identifying information, and credit, banking and financial
  information. Plaintiff has reason to believe that the defendant is owned and operated by
  individuals that are using the name of the defendant to conduct this scheme to convert
  the plaintiffs' property for its own purposes.

         The defendant is being used to conceal the identities of these owners and other
  interested parties. The defendant threatened the plaintiffwith the taking their home and
  money unless they provided certain financial, personal, banking and identifying
  information to the defendant. Copies of these written communications are included with
  Exhibit A.

         The defendant also made inquiries of the plaintiff credit report but did not have a
  permissible purpose or obtained authority to make any inquiry of the plaintiffs credit
  records.

         The defendant obtained records from the public domain that pertain to the
  plaintiff's property and rights to his property, and then use these records to create
  additional records and convince the personnel working in the court system to participate
  in a public auction of the plaintiff's home.

         The defendant has deliberately and willfully, falsely presented itself and
  impersonated itself to the plaintiff as another person to obtain the plaintiff's property for
  purposes not permitted by law or agreement.

         The defendant had an affirmative duty to disclose the purposes for which it
  coerced plaintiffs banking, personal, financial and identifying information.

        The defendant's actions were deliberate and willful and negligent and careless.
  The plaintiff was never provided with a disclosure of the defendant's document retention
  policy or an explanation of the purposes for which the plaintiffs private information
 would be used.
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         The plaintiff has never entered into any agreement or contract with the
  defendant.

         Defendant converted the plaintiff's property and rights to property by one or more
  wrongful acts or dispositions of plaintiff's property rights.

         The damages suffered by the plaintiff exceed $500,000.

         The defendant has taken the property and rights to property of the plaintiff for its
  own personal use, profit and gain.

         Defendant knowingly obtained or used the plaintiffs' property, with intent to, either
  temporarily or permanently deprive the plaintiff of a right to the property or a benefit
  from the property; or appropriate the property to the use of any person not entitled to
  the use of the property.

         The plaintiff requested a copy of the defendant's document retention policy but
  this request was Ignored.

         The defendant intentionally and willfully violated the plaintifTs rights to privacy
  and to keep his private and personal records private.

         The defendant engaged in communications with the plaintiff and deceived him
  into disclosing his private information. The defendant accomplished this by using the
  information already available to the defendant in the public domain to make it appear as
  if the defendant had some legal rights to obtain more of the plaintiff's private
  information, when the defendant did not have such rights.

        After obtaining plaintiffs' private information, defendant used this information for
  its own financial gain and ulterior and undisclosed purposes, and for purposes not
 permitted by law or by the either plaintiff. The defendant has or Intends to file claims
 with the Internal Revenue Service, such as Form 1099, using the plaintiff's identifying
 information.

        The defendant has or intends to use the plaintiffs private information to sell or
 trade with third parties for the mutual benefit of these parties, exclusive of contrary to
 the interests of the plaintiff.

        The defendant used this Information to sell the plaintiffs' property at a public
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   auction in order to further give the appearance that it was legal when it was not.

         Since the date of December 12^ 2015, and to the best of plaintiffs' knowledge,
  the defendant has been in possession of plaintiff's private information, and without the
  consent of the plaintiff and without legal authority.

                                             DAMAGES

         The plaintiff has suffered damages as a direct and proximate result of the
  defendant's actions and failures to act.

         The plaintiff has suffered the loss of the actual fair market value of his home
  because the defendant has been encumbering the plaintiff's property, before, during
  and following the foreclosure thereof. The damages include $2,500,000 together with
  costs and attorney fees.

         WHEREFORE plaintiff demands judgment against the defendant in the
  aggregate amount of damages alleged in the complaint of $2,500,000 together with
  other relief this court deems appropriate.

                 COUNT V - COMPLAINT FOR BREACH OF CONTRACT

                                AND LIQUIDATED DAMAGES

         Comes now the plaintiff Robert D. Steams and sues the defendant SHELLPOINT
  MORTGAGE SERVICING in the following legal action to protect a private civil right and
  to compel a civil remedy for liquidated damages resulting from the breach of a license
  agreement, and alleges the following;

                                        JURISDICTION

         This is an action at law and this court has original jurisdiction pursuant to Article
  III, Section 2 of the United States Constitution and Title 28 U.S.C. §1331.

         This is a complaint for damages that exceeds $75,000.

         There is a diversity of citizenship between the plaintiff and defendant.

                                             VENUE

        The plaintiff has resided In Warren County, Virginia, at the address known as 269
  Wealthy Road, Linden, Virginia, for all times material to this complaint.
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           The defendant is a corporation doing business in the State of Virginia with its
  principle place of business at the address of 55 Beattle Place, Suite 110, Greenville, SC
  29601, for all tinnes material to this complaint.

                                      PLAIN STATEMENT

           The defendant entered into a license agreement with the plaintiff which included
  liquidated damages for any breach or material breach thereof.

           The defendant has breached this agreement and the plaintiff has suffered
  damages thereby and now seeks a judgment against the defendant for these damages.

              STATEMENTS OF FACT AND DEFINITIONS AND ALLEGATIONS

           The abbreviation "XBT" is defined in the agreement upon which this complaint is
  based.

           The abbreviation "Au" is defined in the agreement upon which this complaint is
  based.

           On or about the date of April 1®^ 2016, the defendant entered into a license
  agreement with the plaintiff for the use of plaintiff's identifying information, including
  credit file, bank accounts, financial information, tax records and other personal and
  identifying information such as video-graphic and audio recordings of the plaintiff, and
  other terms set forth in the agreement, a true and correct copy of which is attached.

         The plaintiff alleges the terms and provisions of the exhibited agreement,
  identified as the "Data Retention Policy" and alleges and incorporates each statement
  therein into this complaint.

         The defendant was given a period of time to notice the plaintiff of its intent to be
  excluded from the license terms, under which the defendant was obligated to purge its
  records and databases of any and all information pertaining to the plaintiff and/or
  provide a certificate of destruction of any records or information it could not return.
 These terms are more fully set forth in the attached Exhibit C "DATA RETENTION
 POLICr.

        The defendant has failed to comply with the "opt-out" provisions that would have
 excluded itself from the obligations under the license agreement
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         The defendant is currently in breach of the license agreement for using and
  benefiting from the plaintiffs identifying information as defined in the agreement.

         The defendant is liable to the plaintiff for liquidated damages as set forth in the
  agreement.

         As of this day, the defendant is liable to the plaintiff in the amount or equivalent of
  2.46 ounces of gold (Au) per diem beginning on December 21®* 2015, or its equivalent
  in Bitcoin (XBT).

         WHEREFORE the plaintiff demands judgment for liquidated damages in the
  amount of 2.46 ounces of gold (Au) per diem beginning on December 21®* 2015, or its
  equivalent in Bitcoin (XBT), plus court costs, attorney fees and for other relief as this
  court deems appropriate.

                 COUNT VI - COMPLAINT FOR BREACH OF CONTRACT

                                AND LIQUIDATED DAMAGES

         Comes now the plaintiff Robert D. Steams and sues the defendant THE BANK
  OF NEW YORK MELLON FKA THE BANK OF NEW YORK, AS TRUSTEE FOR THE
  CERTIFICATEHOLDERS OF CWALT, INC., ALTERNATIVE LOAN TRUST 2007-OAS,
  MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2007-OA8 fBONr') in the
  following legal action to protect a private civil right and to compel a civil remedy for
  liquidated damages resulting from the breach of a license agreement, and alleges the
  following:

                                        JURISDICTION

         This is an action at law and this court has original jurisdiction pursuant to Article
  III, Section 2 of the United States Constitution and Title 28 U.S.C. §1331.

         This is a complaint for damages that exceeds $75,000.

         There is a diversity of citizenship between the plaintiff and defendant.

                                            VENUE


         The plaintiff has resided in Warren County, Virginia, at the address known as 269
  Wealthy Road, Linden, Virginia, for all times material to this complaint.
         The defendant is a non-resident collection of certificates or an unintelligible
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       The defendant has failed to comply with the "opt-out" provisions that would
have excluded itself from the obligations under the license agreement.

       The defendant is currently in breach of the license agreement for using and

benefiting from the plaintiff's identifying information as defined in the agreement.

       The defendant is liable to the plaintiff for liquidated damages as set forth in the

agreement.

       As of this day, the defendant is liable to the plaintiff in the amount or equivalent
of2.46 ounces ofgold (Au) per diem beginning on December 21®^ 2015, or its
equivalent in Bitcoin (XBT).

       WHEREFORE the plaintiff demands judgment for liquidated damages in the

amount of2.46 ounces ofgold (Au) perdiem beginning on December 21®* 2015, or its
equivalent in Bitcoin (XBT), plus court costs, attorney fees and for other relief as this

court deems appropriate.



DATED this 4 day of November, 2016.


                                                 Robert D. Steams, Plaintiff
